
*907OPINION.
Seawell:
The Commissioner in making his determination raised the valuation placed upon the Pasadena property in petitioner’s return from $22,500 to $25,000; and the valuation on the Los Angeles property from $379,000 as returned by petitioner to $400,000. There is a presumption of the correctness of the Commissioner’s determination.
The evidence shows that efforts were made over a period of years before and covering the date of the decedent’s death to sell the Pasadena property, but without avail, it being finally sold in 1928 for $20,000. It was, however, rented both before and after the decedent’s death for $250 per month, a very fair return on the valuation, $22,500, at which petitioners reported it — making due allowance for the usual expense of insurance and taxes. After giving proper consideration to all the evidence touching the value of this property at time of the decedent’s death, we are of the opinion that its fair market value on said date was $22,500 as reported by petitioners in their tax return and stated in our findings of fact, and we so hold.
The evidence shows that prior to decedent’s death the construction of two very substantial business buildings in the vicinity of the Los Angeles or Hollywood property was begun and was completed after his death and within less than a year thereof. The commencement of the erection of the two business buildings — one a twelve or thirteen-story building — as shown in the evidence, evidently increased the value of the Hollywood or Los Angeles property of the decedent as indicated by the early sale of the property thereafter, on November 12, 1924, at $400,000, the value determined by the Commissioner.
Since there was insufficient evidence adduced to overcome the presumption of the correctness of the Commissioner’s determination as to said valuation, the same is accordingly approved.

Judgment will be entered under Bule 50.

